                  Case 23-11388-CTG              Doc 13       Filed 09/07/23         Page 1 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 ) Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           ) Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     ) (Joint Administration Requested)
                                                           )

                      DEBTORS’ FIRST (1ST) OMNIBUS MOTION FOR
                 ENTRY OF AN ORDER (A) AUTHORIZING REJECTION OF
             CERTAIN UNEXPIRED LEASES AND (B) GRANTING RELATED RELIEF

                PARTIES RECEIVING THIS MOTION SHOULD LOCATE THEIR
                 NAMES AND THEIR LEASE LISTED ON SCHEDULE 1 TO THE
                   PROPOSED ORDER ATTACHED HERETO AS EXHIBIT A.

             Off Lease Only LLC, Off Lease Only Parent LLC, and Colo Real Estate Holdings LLC,

the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), seek entry of

an order, substantially in the form attached hereto as Exhibit A (the “Order”): (a) authorizing the

rejection of certain unexpired leases and subleases, including any guaranties, amendments or

modifications thereof (each, a “Rejection Lease,” and collectively, the “Rejection Leases”), a list

of which is annexed as Schedule 1 to Exhibit A, effective as of the date specified in Schedule 1,

and (b) authorizing the Debtors to abandon certain personal property (including, without

limitation, vehicles) (the “Personal Property”) located at the premises related to the Rejection

Leases (collectively, the “Premises”) as of the dates specified in Schedule 1.

             In support of this motion (the “Motion”), the Debtors rely upon and incorporate by

reference the Declaration of Leland Wilson in Support of Chapter 11 Petitions and First Day



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.



DOCS_DE:244659.1
                 Case 23-11388-CTG              Doc 13        Filed 09/07/23       Page 2 of 20




Motions (the “First Day Declaration”),2 filed contemporaneously herewith. In further support of

this Motion, the Debtors respectfully state as follows:

                                      JURISDICTION AND VENUE

         1.        The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.        Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a final order by the Court in connection with this Motion to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

         3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The statutory bases for the relief requested in this Motion are sections 105(a),

365(a), and 554(a) of the Bankruptcy Code, and Rules 6006 and 6007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).




2
    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the First Day
    Declaration.

                                                          2
DOCS_DE:244659.1
               Case 23-11388-CTG           Doc 13       Filed 09/07/23   Page 3 of 20




                                           BACKGROUND

        5.         On the date hereof (the “Petition Date”), each of the Debtors commenced a chapter

11 case by filing a voluntary petition for relief pursuant to chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”).

        6.         The Debtors continue to manage and operate their business as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        7.         As of the date hereof, no trustee, examiner, or official committee has been

appointed in the Chapter 11 Cases.

        8.         A detailed description of the Debtors, including their business operations, their

corporate and capital structure, the events leading to the filing of these Chapter 11 Cases, and the

facts and circumstances supporting this Motion, are set forth in greater detail in the First Day

Declaration and incorporated by reference herein.

                               MOTION SPECIFIC BACKGROUND

        9.         As set forth in the First Day Declaration, the Debtors commenced these chapter 11

cases to effectuate an orderly wind-down of their businesses and simultaneously market and sell

some or all of their assets. Since the commencement of these chapter 11 cases, the Debtors and

their advisors have worked diligently to review the Debtors’ unexpired leases with an eye toward

right-sizing their lease obligations to better align with their postpetition wind-down objectives and

reduce the administrative burden on the estate. As part of this process, the Debtors, along with

their advisors, have undertaken extensive review of their unexpired leases of real property,

including the ongoing cost of the leases and the effect on their chapter 11 objectives of rejecting

such leases.




                                                    3
DOCS_DE:244659.1
               Case 23-11388-CTG            Doc 13       Filed 09/07/23   Page 4 of 20




I.      LEASES TO BE REJECTED

        10.        The Rejection Leases consist of real property leases for their corporate headquarters

(the “Corporate Headquarter Lease”) dealerships at which the Debtors store and sell their vehicles,

perform vehicle maintenance and repairs, utilize office space, and conduct related operations. The

Debtors have determined in their business judgment that the costs incurred under the Rejection

Leases constitute an unnecessary drain on the Debtors’ limited resources. In considering their

options, the Debtors, with the assistance of their advisors, evaluated the necessity and cost

efficiency of the Rejection Leases. To that end, the Debtors seek to reject the Rejection Leases

that the Debtors no longer require on a postpetition basis. With respect to the Rejection Leases,

the Debtors seek to reject such leases effective as of the dates set forth in Schedule 1 to Exhibit

A, to allow them to complete their orderly wind-down and liquidate their remaining assets.

        11.        The Debtors determined that the transactional costs and postpetition carrying costs

associated with marketing the Rejection Leases exceed any potential benefit that may be realized

from potential assignments or subleases.          Accordingly, in an effort to reduce postpetition

administrative costs and in the exercise of the Debtors’ business judgment, the Debtors believe

that the rejection of the Rejection Leases, as set forth in Schedule 1 to Exhibit A, effective as of

the dates specified in Schedule 1, is in the best interests of the Debtors, their estate, and all parties

in interest.

II.     PERSONAL PROPERTY TO BE ABANDONED

        12.        To the extent that any Personal Property is located at the Premises, the Debtors have

evaluated such remaining Personal Property at the Premises to determine whether (a) the Personal

Property is of inconsequential value or (b) the cost of removing and storing the Personal Property

for future use, marketing, or sale exceeds its value to the Debtors’ estates. Because the Debtors

plan to cease or have already ceased all operations at the Premises, and will provide an opportunity

                                                     4
DOCS_DE:244659.1
               Case 23-11388-CTG            Doc 13       Filed 09/07/23   Page 5 of 20




for Ally, their secured lender with a security interest in the Debtors’ vehicles, to collect such

collateral by the dates set forth in Schedule 1 to Exhibit A, the Personal Property, if any, will no

longer be necessary for the administration of the Debtors’ estates after such date.

        13.        Accordingly, to reduce postpetition administrative costs and, in the exercise of the

Debtors’ sound business judgment, the Debtors believe that the abandonment of Personal Property

that may be located at each of the Premises, if any, is appropriate and in the best interests of the

Debtors, their estates, and their creditors.

                                         BASIS FOR RELIEF

III.    REJECTION OF THE REJECTION LEASES REFLECTS THE DEBTORS’
        SOUND BUSINESS JUDGMENT

        14.        Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the

court’s approval, may assume or reject any executory contract or unexpired lease of the debtor.”

11 U.S.C. § 365(a). The purpose behind section 365(a) is “to permit the trustee or debtor-in-

possession to use valuable property of the estate and to renounce title to and abandon burdensome

property.” In re Republic Airways Holdings Inc., 547 B.R. 578, 582 (Bankr. S.D.N.Y. 2016)

(quoting In re Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures Corp.), 4

F.3d 1095, 1098 (2d Cir. 1993)); see also In re Exide Techs., 607 F.3d 957, 967 (3d Cir. 2010)

(“Courts may use § 365 to free a [debtor] from burdensome duties that hinder its reorganization.”);

N.L.R.B. v. Bildisco and Bildisco (In re Bildisco), 465 U.S. 513, 528 (1984) (“[t]he authority to

reject an executory contract is vital to the basic purpose to a Chapter 11 reorganization, because

rejection can release the debtor’s estate from burdensome obligations that can impede a successful

reorganization.”). Pursuant to Bankruptcy Rule 6006(f), a trustee or debtor in possession may file

a motion for the authority to reject multiple leases. Fed. R. Bankr. P. 6006(f).




                                                     5
DOCS_DE:244659.1
               Case 23-11388-CTG           Doc 13       Filed 09/07/23   Page 6 of 20




        15.        The standard applied by courts to determine whether the assumption or rejection of

an unexpired nonresidential lease should be authorized is the “business judgment” test, which

requires a debtor to have determined that the requested assumption or rejection would be beneficial

to its estate. See Grp. Of Institutional Inv’rs v. Chi., Milwaukee St. Paul & Pac. R.R., 318 U.S.

523, 550 (1943) (noting that “the question whether a lease should be rejected…is one of business

judgment”); In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982), aff’d, 465 U.S. 513 (“The usual test for

rejection of an executory contract is simply whether rejection would benefit the estate, the

‘business judgment’ test.”); accord In re HQ Glob. Holdings, Inc., 290 B.R. 507, 511 (Bankr. D.

Del. 2003).

        16.        In applying the business judgment standard, bankruptcy courts give deference to a

debtor’s decision to assume or reject leases. See, e.g., Sharon Steel Corp. v. Nat’l Fuel Gas Distrib.

Corp., 872 F.2d 36, 39-40 (3d Cir. 1989) (affirming the rejection of a service agreement as a sound

exercise of the debtor’s business judgment when the bankruptcy court found that such rejection

would benefit the debtors’ estate); In re Trans World Airlines, Inc., 261 B.R. 103, 121 (Bankr. D.

Del. 2001) (“[A] debtor’s decision to reject an executory contract must be summarily affirmed

unless it is the product of bad faith, or whim, or caprice.”).

        17.        Rejection of the Rejection Leases is well within the Debtors’ business judgment

and is in the best interest of their estates. As set forth above, the Debtors commenced these chapter

11 cases to effectuate an orderly wind-down of their business operations and undertake one or

more sale processes for some or all of their assets. As an integral component of their efforts to

preserve and maximize the value of their estates and reduce their potential administrative costs in

these chapter 11 cases by, among other things, eliminating unnecessary costs, the Debtors have

determined, in their business judgment, that the Rejection Leases are burdensome and will provide



                                                    6
DOCS_DE:244659.1
               Case 23-11388-CTG           Doc 13       Filed 09/07/23   Page 7 of 20




no economic value to their estates. The Rejection Leases will be unnecessary to the Debtors’ go-

forward chapter 11 objectives and, if not rejected, could potentially be a drain on the Debtors’

estates and a hindrance to their chapter 11 efforts. Any continued expense in maintaining the

Rejection Leases after the effective date of rejection would likely outweigh, if not eclipse, any

benefit in attempting to identify a potential acquirer of the Rejection Leases and unnecessarily

deplete assets of the Debtors’ estates, to the detriment of creditors. In contrast, rejection of the

Leases will represent a monthly cost savings to the Debtors’ estates moving forward.

IV.     REJECTION OF THE REJECTION LEASES EFFECTIVE AS OF THE
        APPLICABLE DATE IS APPROPRIATE

        18.        To the extent that this Motion may not be heard before the proposed effective date

of the Rejection Leases, Section 365 of the Bankruptcy Code does not restrict a bankruptcy court

from applying rejection retroactively. See In re Jamesway Corp., 179 B.R. 33, 37 (S.D.N.Y. 1995)

(stating that section 365 does not include “restrictions as to the manner in which the court can

approve rejection”); see also In re CCI Wireless, LLC, 297 B.R. 133, 138 (D. Colo. 2003) (noting

that section 365 “does not prohibit the bankruptcy court from allowing the rejection of [leases] to

apply retroactively”). Courts have held that a bankruptcy court may, in its discretion, authorize

rejection retroactively to a date prior to entry of an order authorizing such rejection where the

balance of equities favors such relief. See In re Thinking Machs. Corp., 67 F.3d 1021, 1028–29

(1st Cir. 1995) (stating that “rejection under section 365(a) does not take effect until judicial

approval is secured, but the approving court has the equitable power, in suitable cases, to order a

rejection to operate retroactively”); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004)

(stating “the court’s power to grant retroactive relief is derived from the bankruptcy court’s

equitable powers so long as it promotes the purposes of § 365(a)”); CCI Wireless, 297 B.R. at 140

(holding that a “court has authority under section 365(d)(3) to set the effective date of rejection at


                                                    7
DOCS_DE:244659.1
               Case 23-11388-CTG           Doc 13       Filed 09/07/23    Page 8 of 20




least as early as the filing date of the motion to reject”); BP Energy Co. v. Bethlehem Steel Corp.

(In re Bethlehem Steel Corp.), No. 03-6419, at *3 (S.D.N.Y. Nov. 15, 2002) (“We cannot conclude

. . . that a bankruptcy court’s assignment of a retroactive rejection date falls outside of its authority

when the balance of the equities favors this solution.”); see also In re At Home Corp., 392 F.3d

1064, 1065–66 (9th Cir. 2004) (holding “that a bankruptcy court may approve retroactively the

rejection of an unexpired nonresidential lease”); see also TW, Inc. v. Angelastro (In re TW, Inc.),

No. 03-10785, at *2 (D. Del. Jan. 14, 2004) (upholding bankruptcy court ruling denying rejection

of leases nunc pro tunc to the petition date when the debtor had not surrendered possession prior

to the petition date).

        19.        In this instance, the balance of equities favors rejection of the Rejection Leases

effective as of the dates specified in Schedule 1 to Exhibit A. Without such relief, the Debtors will

incur unnecessary administrative expenses related to the Rejection Leases —as they do not provide

a net benefit to the Debtors’ estates. The landlords of the Rejection Leases will not be unduly

prejudiced if the rejection is deemed effective as of the applicable date. Possession of the Premises

will be delivered to each respective landlord, along with an unequivocal and irrevocable statement

of surrender and abandonment of the Premises. Further, by this motion, the landlords and, where

applicable, their respective counsel are receiving notice of the Debtors’ intention to reject the

Rejection Leases. Indeed, the Debtors have sought the relief requested as soon as reasonably

practicable in these chapter 11 cases. Accordingly, failure to approve rejection effective as of the

dates specified in Schedule 1 to Exhibit A would result in the Debtors incurring unnecessary

administrative costs associated with the Rejection Leases. In light of the foregoing, the balance of

equities favors approving rejection effective as of the dates specified in Schedule 1 to Exhibit A.




                                                    8
DOCS_DE:244659.1
               Case 23-11388-CTG             Doc 13       Filed 09/07/23    Page 9 of 20




        20.        Courts in this jurisdiction have approved relief similar to that requested herein. See,

e.g., In re PGX Holdings, Inc., No. 23-10718 (CTG) (Bankr. D Del. July 19, 2023) (authorizing

rejection of unexpired leases effective as of the petition date); In re Forever 21, Inc., No. 19-12122

(KG) (Bankr. D. Del. Oct. 28, 2019) (same).

V.      THIS ABANDONMENT OF PERSONAL PROPERTY IS APPROPRIATE

        21.        The Debtors have satisfied the standard set forth in section 554(a) of the Bankruptcy

Code, granting them authority to abandon the Personal Property. Section 554(a) of the Bankruptcy

Code provides that “[a]fter notice and a hearing, the trustee may abandon any property of the estate

that is burdensome to the estate or that is of inconsequential value and benefit to the estate.” 11

U.S.C. § 554(a). Courts generally give a debtor in possession great deference to its decision to

abandon property. See, e.g., In re Vel Rey Props., Inc., 174 B.R. 859, 867 (Bankr. D.D.C. 1994)

(“Clearly, the court should give deference to the trustee’s judgment in such matters.”). Unless

certain property is harmful to the public, once a debtor has shown that it is burdensome or of

inconsequential value to the estate, a court should approve the abandonment. Id.

        22.        Before deciding to abandon the Personal Property, if any, the Debtors will (i)

provide an opportunity to Ally to collect its collateral (vehicles), and (ii) determine whether the

costs of moving and storing any remaining Personal Property outweigh any benefit to the Debtors’

estates. Further, any efforts by the Debtors to move or market the Personal Property could

unnecessarily delay the Debtors’ surrender of the Premises and the rejection of the Rejection

Leases. Accordingly, it is in the best interests of the Debtors and their estates for the Debtors to

abandon Personal Property located on the Premises. The Debtors request that the abandonment of

the Personal Property be effective as of the dates specified in Schedule 1 to Exhibit A, as

applicable.



                                                      9
DOCS_DE:244659.1
               Case 23-11388-CTG            Doc 13      Filed 09/07/23      Page 10 of 20




        23.        Courts in this jurisdiction have approved relief similar to the relief requested herein.

See, e.g., In re PGX Holdings, Inc., No. 23-10718 (CTG) (Bankr. D. Del. July 19, 2023)

(authorizing, but not directing, the debtors to abandon personal property that may be located at the

debtors’ leased premises that are subject to a rejected lease); In re Highpoint Resources Corp., No.

21-10565 (CSS) (Bankr. D. Del. March 31, 2021) (same); In re Bluestem Brands, Inc., No. 20-

10566 (MFW) (Bankr. D. Del. Apr. 15, 2020) (same); In re Forever 21, Inc., No. 19-12122 (KG)

(Bankr. D. Del. Oct. 28, 2019) (same); In re Things Remembered, Inc., No. 19-10234 (KG) (Bankr.

D. Del. Feb. 28, 2019) (same).

        24.        In light of the foregoing facts and circumstances, rejection of the Rejection Leases

under section 365(a) of the Bankruptcy Code is a sound exercise of the Debtors’ business judgment

and is necessary, prudent, and in the best interests of the Debtors, their estates, and their creditors.

The balance of equities supports granting rejection of the Rejection Leases effective as of the dates

specified in Schedule 1 to Exhibit A. Finally, the Debtors’ abandonment of certain Personal

Property may and should be authorized because any Personal Property that the Debtors do not

remove in advance of surrender and choose to abandon will be burdensome or of inconsequential

value to the Debtors’ estates.

                     WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

        25.        To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements pursuant to Bankruptcy Rule 6004(a) and the fourteen (14)-day stay of an order

authorizing the use, sale, or lease of property pursuant to Bankruptcy Rule 6004(h) to the extent

applicable.

                                     RESERVATION OF RIGHTS

        26.        Nothing contained in this Motion or any actions taken by the Debtors pursuant to

relief granted in the order is intended or should be construed as: (a) an admission as to the validity

                                                     10
DOCS_DE:244659.1
               Case 23-11388-CTG           Doc 13    Filed 09/07/23     Page 11 of 20




of any particular claim against the Debtors; (b) a waiver of any party’s rights to dispute any

particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication or admission that any particular claim is of a type specified or defined in this Motion;

(e) a request or authorization to assume any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) a waiver or limitation of any party’s rights pursuant to the Bankruptcy

Code or any other applicable law; or (g) a concession by any party that any liens (contractual,

common law, statutory, or otherwise) satisfied pursuant to this Motion are valid, and all parties’

rights to contest the extent, validity, or perfection or seek avoidance of all such liens are hereby

reserved.

                                               NOTICE

        27.        The Debtors have provided notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the twenty (20) largest unsecured claims

against the Debtors (on a consolidated basis); (c) the United States Securities and Exchange

Commission; (d) the United States Department of Justice; (e) the office of the attorneys general

for the states in which the Debtors operate; (f) the United States Attorney’s Office for the District

of Delaware; (g) the Internal Revenue Service; (h) Cerberus Off Lease Only LLC; (i) Spirit Realty,

L.P.; (j) Ally Bank; (k) the counterparties to the Rejection Leases (via overnight mail), and (l) any

party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in

light of the nature of the relief requested, no other or further notice need be given.

                                        NO PRIOR REQUEST

        28.        No prior request for the relief sought herein has been made by the Debtors to this

or any other court.




                                                    11
DOCS_DE:244659.1
               Case 23-11388-CTG       Doc 13      Filed 09/07/23    Page 12 of 20




                                        CONCLUSION

        WHEREFORE the Debtors respectfully request that the Court enter an order, substantially

in the form attached hereto as Exhibit A, granting the relief requested herein and such other relief

as the Court deems appropriate under the circumstances.

Dated: September 7, 2023                   Respectfully submitted,
Wilmington, Delaware
                                           /s/ Laura Davis Jones
                                           Laura Davis Jones, Esq. (DE Bar No. 2436)
                                           James E. O’Neill, Esq. (DE Bar No. 4042)
                                           Colin R. Robinson, Esq. (DE Bar No. 5524)
                                           PACHULSKI STANG ZIEHL & JONES LLP
                                           919 North Market Street, 17th Floor
                                           P.O. Box 8705
                                           Wilmington, Delaware 19899-8705 (Courier 19801)
                                           Telephone: 302-652-4100
                                           Facsimile: 302-652-4400
                                           email: ljones@pszjlaw.com
                                                   joneill@pszjlaw.com
                                                   crobinson@pszjlaw.com

                                           Proposed Co-Counsel for the Debtors and Debtors in
                                           Possession

                                           -and-

                                           Brian S. Rosen, Esq. (pro hac vice pending)
                                           Megan R. Volin, Esq. (pro hac vice pending)
                                           PROSKAUER ROSE LLP
                                           Eleven Times Square
                                           New York, New York 10036
                                           Telephone: (212) 969-3000
                                           Facsimile: (212) 969-2900
                                           Email: brosen@proskauer.com
                                                   mvolin@proskauer.com

                                           -and-




                                                12
DOCS_DE:244659.1
               Case 23-11388-CTG   Doc 13    Filed 09/07/23   Page 13 of 20




                                     Ashley M. Weringa, Esq. (pro hac vice pending)
                                     Christian J. Palacios, Esq. (pro hac vice pending)
                                     PROSKAUER ROSE LLP
                                     70 W. Madison, Suite 3800
                                     Chicago, Illinois 60602
                                     Telephone: (312) 962-3550
                                     Facsimile: (312) 962-3551
                                     Email: aweringa@proskauer.com
                                             cpalacios@proskauer.com




                                            13
DOCS_DE:244659.1
               Case 23-11388-CTG   Doc 13   Filed 09/07/23   Page 14 of 20




                                     EXHIBIT A

                                   Proposed Order




DOCS_DE:244659.1
                  Case 23-11388-CTG             Doc 13         Filed 09/07/23       Page 15 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           )   Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     )   (Joint Administration Requested)
                                                           )
                                                           )   Re: Docket No. __

                      ORDER (I) AUTHORIZING (A) REJECTION OF
             CERTAIN UNEXPIRED LEASES AND (B) GRANTING RELATED RELIEF

             Upon the Debtors’ First (1st) Omnibus Motion for Entry of an Order (A) Authorizing

Rejection of Certain Unexpired Leases Effective as of the Petition Date and (B) Granting Related

Relief (the “Motion”)2 filed by the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (i) authorizing the Debtors to

reject the Leases set forth on Schedule 1 to Exhibit A attached hereto, effective as of the dates

specified in Schedule 1, (b) authorizing the Debtors to abandon any Personal Property that may

be located at the Premises, effective as of the dates specified in Schedule 1, and (c) granting related

relief; all as more fully set forth in the Motion; and upon consideration of the First Day Declaration

and the record of these Chapter 11 Cases; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012, and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.
2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



DOCS_DE:244659.1
               Case 23-11388-CTG           Doc 13       Filed 09/07/23   Page 16 of 20




§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and the First Day Declaration and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.         The Motion is GRANTED on a basis as set forth in this Order.

        2.         Each of the Rejection Leases identified on Schedule 1 to Exhibit A is rejected

pursuant to sections 105(a) and 365 of the Bankruptcy Code effective as of the date specified

therein; provided, however, that, in the event necessary and appropriate, the Debtors reserve the

right to negotiate with the applicable landlords to continue use and occupancy of the premises.

        3.         The Debtors shall not be liable for any additional administrative expenses arising

after applicable effective date of rejection with respect to the Rejection Leases.

        4.         The Debtors do not waive any claims that they may have against any counterparty

to the Rejection Leases, whether or not such claims arise under, are related to the rejection of, or

are independent of the Rejection Leases.

        5.         The Debtors are authorized, but not directed, to abandon any Personal Property

located at the Premises identified on Schedule 1 to Exhibit A and all such property is deemed

abandoned as of the date specified in Schedule 1 free and clear of all liens, claims, encumbrances,



                                                    2
DOCS_DE:244659.1
                 Case 23-11388-CTG         Doc 13       Filed 09/07/23   Page 17 of 20




interests, and rights of the Debtors and third parties. The applicable counterparty to each Rejection

Lease may utilize or dispose of such Personal Property without liability to any third parties, and

without further notice to any party claiming an interest in such abandoned Personal Property. The

automatic stay, to the extent applicable, is modified to allow for such utilization or disposition.

        6.         Nothing herein shall prejudice the rights of the Debtors to argue that any of the

Rejection Leases were terminated prior to the applicable effective date of rejection, or that any

claim for damages arising from the rejection of the Rejection Leases is limited to the remedies

available under any applicable termination provision of such lease, sublease, or contract, as

applicable, or that any such claim is an obligation of a third party, and not that of the Debtors or

their estates.

        7.         Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other party in

interest’s right to dispute any prepetition claim on any grounds; (c) a promise or requirement to

pay any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Order or the Motion; (e) an authorization to assume any prepetition

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver of the

Debtors’ or any other party in interest’s rights pursuant to the Bankruptcy Code or any other

applicable law; or (g) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) satisfied pursuant to the Motion are valid, and the rights of all parties in

interest are expressly reserved to contest the extent, validity, or perfection or seek avoidance of all

such liens.




                                                    3
DOCS_DE:244659.1
               Case 23-11388-CTG            Doc 13        Filed 09/07/23    Page 18 of 20




        8.         Nothing in this Order authorizes the Debtors to accelerate any payments not

otherwise due.

        9.         Nothing contained in the Motion or this Order is intended or should be construed

to create an administrative priority claim.

        10.        Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a), to the extent applicable, and the

Local Rules are satisfied by such notice.

        11.        Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, the terms and

conditions of this Order are immediately effective and enforceable upon its entry.

        12.        The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Order in accordance with the Motion.

        13.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Order.




                                                      4
DOCS_DE:244659.1
                Case 23-11388-CTG             Doc 13    Filed 09/07/23         Page 19 of 20




                                                 Schedule 1

                                                                                      Effective Date of
                                Landlord/
         Landlord/                                                                      Rejection &
                               Counterparty         Title/Description of Lease
        Counterparty                                                                 Abandonment of
                                 Address
                                                                                     Personal Property
   Colonnade Centrepark    521 Fifth Avenue      Office Lease dated as of July 26, 9/30/2023
   East LLC                Suite 1810            2021
                           New York, NY
                           10175                 Corporate Headquarter Lease
   Spirit Realty, L.P.     2727 N. Harwood       Amended and Restated Master      Bradenton, Broward,
                           Street, Suite 300     Lease Agreement dated as of June Houston – 9/30/2023
                           Dallas, Texas 75201   24, 2021
                                                                                  Orlando, Palm Beach –
                                                 Master lease for used car        10/31/2023
                                                 dealerships and additional
                                                 properties which the Debtors
                                                 leased to third parties
   SmithCo Grand           1400 Post Oak         Ground Lease dated as of October 9/30/2023
   Parkway, LP             Boulevard, Suite 900, 5, 2021
                           Houston, Texas 77056
                                                 Ground lease for used car
                                                 dealership
   Jim R. Smith            1400 Post Oak         Lease Agreement dated as of May At the Petition Date
                           Boulevard, Suite 900, 12, 2022
                           Houston, Texas 77056
                                                 Office Lease
   Left Gate Property      3600 W Sam Houston Sublease Agreement dated as of       9/30/2023
   Holding, LLC            Pkwy S, Floor 4      March 30, 2023
                           Houston, Texas 77042
                                                Sublease for used car dealership

   Nona Business Center,   10783 Narcoossee      Lease Agreement dated as of       9/30/2023
   LLC                     Rd., Suite #117,      April 28, 2017
                           Orlando, FL 32832
                                                 Parking lot lease
   Nona Business Center,   2701                  Lease Agreement dated as of       9/30/2023
   LLC                     Michigan Avenue,      October 9, 2014
                           Suite J, Kissimmee,
                           FL 34744              Warehouse lease
   Ave Building B2, LLC    14350 NW 56 Court, Sublease Agreement dated as of       9/30/2023
                           Suite 118            May 6, 2014
                           Miami, Florida 33054
                                                Sublease for used car dealership




DOCS_DE:244659.1
                Case 23-11388-CTG         Doc 13         Filed 09/07/23         Page 20 of 20



   Ave Building B3, LLC   14350 NW 56 Court, Sublease Agreement dated as of        9/30/2023
                          Suite 118            October 18, 2016
                          Miami, Florida 33054
                                               Sublease for used car dealership

   Ave Building I, LLC    14350 NW 56 Court, Sublease Agreement dated as of        9/30/2023
                          Suite 118            October 12, 2015
                          Miami, Florida 33054
                                               Sublease for used car dealership

   Ave Building J, LLC    14350 NW 56 Court, Sublease Agreement dated as of        9/30/2023
                          Suite 118            July 31, 2019
                          Miami, Florida 33054
                                               Sublease for used car dealership
   Ave Building O, LLC    14350 NW 56 Court, Sublease Agreement dated as of        9/30/2023
                          Suite 118            June 6, 2012
                          Miami, Florida 33054
                                               Sublease for used car dealership
   Strata Realty, Inc.    P.O. Box 19358       Lease Agreement dated as of         9/30/2023
                          West Palm Beach,     August 3, 2016
                          Florida 33416
                                               Lease for used car dealership
   Stratemeyer, LLC       P.O. Box 19358        Lease Agreement dated as of        9/30/2023
                          West Palm Beach,      August 3, 2016
                          Florida 33416
                                                Lease for used car dealership
   Boatmart, Inc.         P.O. Box 19358        Lease Agreement dated as of        9/30/2023
                          West Palm Beach,      August 3, 2016
                          Florida 33416
                                                Lease for used car dealership




                                                     2
DOCS_DE:244659.1
